 

 

MOFFETT VITU LASCOE PACKUS & SIMS

A PROFESSIONAL CORPORATION

255 EAST BROWN STREET — SUITE 340 ~ BIRMINGHAM, MICHIGAN 48009
(248) 646-5106 — fax (248} 646-5332

 

 

Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.35 Page 1 of 23

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
MELINDIA JACKSON,
Plaintiff,
Case No: 1:13-cv-1098
VS. Hon, Janet T. Neff

IDS PROPERTY AND CASUALTY

 

INSURANCE COMPANY,

Defendant.

|

MELINDIA JACKSON AARON D. SIMS (P58011)
Pro Se Plaintiff Moffett Vitu Lascoe Packus & Sims, P.C.
P.O. Box 305 Attorney for Defendant
Allegan, MI 49010 255 E. Brown Street, Suite 340
269-673-4422 Birmingham, MI 48009

(248) 646-5100 / (248) 646-5332 (fax)
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ttomasovich@mdaal.com

 

 

DEFENDANT’S MOTION TO DISMISS BASED ON PLAINTIFF’S
FAILURE TO FILE OPPOSITION TO ITS MOTION TO STRIKE COMPLAINT

NOW COMES Defendant, IDS PROPERTY AND CASUALTY INSURANCE
COMPANY, by and through its attorneys, MOFFETT, VITU, LASCOE, PACKUS & SIMS,
P.C., and for its Motion to Dismiss Based on Plaintiffs Failure to File Opposition to Its Motion
to Strike Complaint, states as follows:

1. Plaintiff filed the instant action alleging violations of the Elliott-Larsen Civil
Rights Act, Act 453 of 1976 on October 4, 2013. (Exhibit A, Complaint).

2. Due to the severe deficiencies of Plaintiff's Complaint, Defendant filed a Motion
to Strike Plaintiffs Complaint. (Exhibit B, Defendant’s Motion to Strike). Specifically,
Plaintiff failed to provide any averments material to her claim of discrimination. Rather, she

merely stated “immaterial” and “impertinent” information without a factual basis.

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AE-3670-AS

 

 
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Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.36 Page 2 of 23

3. Plaintiff was sent a correspondence together with a copy of the Motion to Dismiss
at her residence on November 8, 2013. (Exhibit C, Correspondence).

4, On November 12, 2013, this Honorable Court scheduled a hearing on Defendant’s
Motion to Dismiss for May 9, 2014 at 11:00 a.m. (Exhibit D, Notice of Hearing).

5. Plaintiff called counsel for Defendant’s office on or about January 21, 2014
inquiring about an immediate settlement, which has been the only communication from Plaintiff.
(Exhibit E, Affidavit of Tami Tomasovich).

6. Local Rule 7.2 provides a Briefing Schedule, which states:

Any party opposing a dispositive motion shall, within twenty-eight
(28) days after service of the motion, file a responsive brief and
any supporting materials. The moving party may, within fourteen
(14) days after service of the response, file a reply brief not
exceeding ten (10) pages. The Court may permit or require further
briefing.

7. To date, Plaintiff has not responded to Defendant’s Motion to Dismiss in any,
way shape or form. {1d.). Moreover, Defendant has had no further contact with Plaintiff since
the date of January 21, 2014.

8. Defendant is cognizant of Plaintiffs position as a pro se party to the instant action
and has allowed ample time to provide any documentation in support of her claims. However, it
should be noted Plaintiff brought the instant litigation against Defendant and should be
responsible for following the procedures as provided by this Honorable Court.

9. “[FJederal courts ‘have never suggested that procedural rules in ordinary civil
litigation should be interpreted so as to excuse mistakes by those who proceed without counsel.’”
Branham v Micro Computer Analysts, 350 Fed App’x 35, 38 oe" Cir 2009).

10. As such, Plaintiff’s failure to proffer a response to Defendant’s Motion to Dismiss

is an inexcusable mistake and her Complain should be stricken/dismissed for this reason.

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Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.37 Page 3 of 23

WHEREFORE, Defendant, IDS PROPERTY AND CASUALTY INSURANCE
COMPANY, respectfully requests this Honorable Court to grant its Motion and dismiss
Plaintiff's Complaint in its entirety with prejudice, together with costs and fees so wrongfully
incurred in the defense of this matter.

MOFFETT VITU LASCOE PACKUS & SIMS, P.C.

s/f AarvowD. Simy

By: Aaron D, Sims (P58011)
Attomey for Defendant

255 E. Brown Street, Suite 340
Birmingham, MI 48009

(248) 646-5100

asims@moffettvitu.com
Dated: April 30, 2014

BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS BASED
ON PLAINTIFF’S FAILURE TO FILE OPPOSITION
TO ITS MOTION TO STRIKE COMPLAINT

In support of the instant Motion, Defendant relies upon the following provisions of Local
Rule 7.2, applicable case law, the facts of the case and this Honorable Court’s discretion.

WHEREFORE, Defendant, IDS PROPERTY AND CASUALTY INSURANCE
COMPANY, respectfully requests this Honorable Court to grant its Motion and dismiss
Plaintiff's Complaint in its entirety with prejudice, together with costs and fees so wrongfully
incurred in the defense of this matter.

MOFFETT VITU LASCOE PACKUS & SIMS, P.C.

s/ Aorow D. Simpy
By: Aaron D. Sims (P58011)
Attorney for Defendant

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Birmingham, MI 48009

(248) 646-5100

asims(@moffettvitu.com
Dated: April 30,2014

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Case 1:13-cv-01098-JTN-ESC

 

 

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PROOF OF SERVICE
The undersigned certifies that a copy of the foregoing document was served upon counsel of
record, by mailing same to them at their respective addresses as disclosed by the pleadings of record

herein, with postage fully prepaid thereon on April 30, 2014.

I declare that the statement above is true to the best of my information, knowledge and
belief.

/s/ TamiM. Tomasovich
Tami M. Tomasovich

AE-3670-AS

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EXHIBIT
 

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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

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Allegan, Michigan 49010 nests bitter cca
269 673-4422 bd) Seamediyay Dold
Plaintiff/ Pro Per ee,

Vs | 1:13-cv-1098

Register Agent/ CT Corporation ‘
30600 Telegraph Rd Suite 2345 Janet T. Neff
Bingham Farm, MI 48025 U.S. District Judge

For .
IDS Property and Casuaity Insurance Co Te nnn
3500 Packerland Drive
De Pere, Wisconsin 54115
Defendant
Telephone 1800 872-5246

Complaint |

. I
Plaintiff lives in Allegan County Michigan. Defendant place of business and Corporation is in another
states. Plaintiff has file a claim against defendant based on Discrimination under the Elliot Larson Act yy
453 of 1976. Based on Disability , sex, and race.

1. Plaintiff has been treated differently than other that have claims with the insured
company. Claim1122887C201 and Claim _S - / 4 - //

2.. After meeting with plaintiff locally in December of 2011. Defendants of IDS
‘Property-and casualty insurance also known as aka/Amerprise Auto and Home
Insurance in claims department employees Michelle Daniels, Gina Knuth, Stacey Bartz,

and Thomas Boogard; begin to harass, threaten with claim of being .
denied claim service try to entrapment plaintiff. Defendants has did these acts with
malice and intent.

3. Also harassment with making slanderous and libel claim of paint ting OPID |
user which is false; plaintiff has never hed a history now or before of ever user Heroin
or any other illegal substances.

4. Defendants have cause harm to plaintiff for possible future employment because of
liberal and slanderous act had been enter into her MIB record. which is false and untrue |
Defendant knew this because Defendants of said Business and Corporation had been ;
working with Plaintiff on claims up last to contact in May of 2013.
5. Plaintiff have tried in the past to resolve this whole issue.

6. Plaintiff Request a award of damages in the amount of $500.000.00

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EXHIBIT
   

Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.43 Page 9 of 23
   

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Case 1:13-cv-01098-JTN-ESC Doc #8 Filed 11/08/13 Page Lof22 Page ID#12

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

MELINDIA JACKSON,
Plaintiff,
Case No: 1:13-cv-1098
vs. Hon. Janet T. Neff
IDS PROPERTY AND CASUALTY
INSURANCE COMPANY,
Defendant,
i
MELINDIA JACKSON AARON D. SIMS (P5801 1)
Pro Se Plaintiff Moffett Vitu Lascoe Packus & Sims, P.C.
P.O. Box 305 Attorney for Defendant
Allegan, MI 49010 255 E. Brown Street, Suite 340
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asims(@mdaal.com

ttomasovich@mdaal.com

DEFENDANT IDS PROPERTY AND CASUALTY INSURANCE COMPANY’S
MOTION TO STRIKE PLAINTIFE’S COMPLAINT

NOW COMES Defendant, IDS PROPERTY AND CASUALTY INSURANCE
COMPANY, by and through its attorneys, MOFFETT, VITU, LASCOE, PACKUS & SIMS,
P.C., and for its Motion to Strike Plaintiff's Complaint per MCR 2.115, states as follows:

l. Plaintiff filed the instant action alleging violations of the Elliott-Larsen Civil
Rights Act, Act 453 of 1976. Qixhibit A, Elliott-Larsen Civil Rights Act).

2. In her Complaint, Plaintiff alleges she “has been treated differently than other
[sic] that have claims with the insured company [Defendant].” (Exhibit B, Complaint).

3. Defendant is the automobile insurer providing coverage for No-Fault benefits of

to Plaintiff.

AE-3670-AS

 
 

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Case 1:13-cv-OL098-JTN-ESC Doc #8 Filed 11/08/13 Page 2 of 22 Page ID#13

4, Plaintiff further makes three additional averments in support of her claim. These
allegations are as follows:

2..[sic] After meeting with plaintiff locally in December of 2011.
Defendants of IDS Property and casualty insurance also
known as aka/Ameriprise Auto and Home Insurance claims
department employees Michelle Daniels, Gina Knuth,
Stacey Bartz, and Thomas Boogard; begin to harass,
threaten with claim of being denied claim service to try to
entrapment plaintiff. Defendant has did these acts with
malice and intent.

3. Also harassment with making slanderous and libel claim of
plaintiff being an OPID user which is false; plaintiff has
never had a history now of ever being user Heroin or any
other illegal substances.

4, Defendants have cause harm to plaintiff for possible future
employment because of liberal and slanderous act had been
enter into her MIB record which is false and untrue
Defendant knew this because Defendants of said Business
and Corporation had been working with Plaintiff on claims
up last to contact in May of 2013, (Id.).

5. The Elliott-Larsen Civil Rights Act, Act 453 of 1976, states, in pertinent part:

37.2102 Recognition and deciaration of civil right; action arising
out of discrimination based on sex or familial status.

Sec. 102. (1) The opportunity to obtain employment,
housing and other real estate, and the full and equal
utilization of public accommodations, public service, and
educational facilities without discrimination of religion,
race, color, national origin, age, sex, height, weight,
familial status, or marital status as prohibit by this act, is
recognized to be a civil right.

(Exhibit A, emphasis added).
6. The remainder of Plaintiff's Complaint merely contains allegations of an attempt

for resolution and a damages request. (Exhibit B).

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7. In order to support her allegations of a civil rights claim under the Elliott-Larsen

Civil Rights Act and, moreover, prevail on her claim, Plaintiff needs to plead discrimination of

“religion, race, color, national origin, sex, height, weight, familial status, or marital status.”

(Exhibit A).

8. Accordingly, the only material and pertinent averments pertinent to Plaintif?'s
Complaint would be those claims for discrimination based on “religion, race, color, national
origin, sex, height, weight, familial status, or marital status,” because these are the only bases
available for such a claim to be made pursuant to the Elliott-Larsen Civil Rights Act.

9. Federal Rule of Civil Procedure 12(f), Motion to Strike states:

The Court may strike from a pleading an insufficient defense or

any redundant, immaterial, impertinent, or scandalous matter. The

court may act:

(1) on its own; or

(2) on motion made by a party either before responding to the
pleading or, if a response is not allowed, within 21 days
after being served with the pleading.

10. “[A] motion to strike should be granted where the complaint contains immaterial
allegations that have no bearing on the subject matter of litigation.” Spectrum Health y Good
Samaritan Employers Ass’n, Ince Trust Fund, 2008 WL 2484598 (W.D. Mich); see Morse v
Weingarten, 777 F Supp 312, 319 (SDNY 1991),

11. ““Impertinent’ allegations have been defined as statements that do not pertain or
are not necessary to the issues in question.” New Day Farms, LLC v Bd of Trustees, York, Twp,

OH, 2009 WL 1652126 (SD Ohio); citing 3C Wright & Miller Federal Practice & Procedure §

1382 (3° ed. 2009).

AE-3670-AS

 

 
 

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12. —- Plaintiffs Complaint fails to provide any allegations of discrimination based on

her “religion, race, color, national origin, sex, height, weight, familial status, or marital status”
that would be the only material and pertinent instances of discrimination for an Elliott-Larsen
Civil Rights Act claim.

13. In her Complaint, Plaintiff bases her claim on “being treated differently than other
claims.” Then, she indicates Defendant committed acts of harassment with “malice and intent”
and made “slander and libel” statements regarding use of heroin/illegal substances as support.
(id. at ff 2, 3 &4).

14. Clearly, there is nothing in the Complaint alleging anything about Plaintiff's
“religion, race, color, national origin, sex, height, weight, familial status, or marital status” to
support a claim pursuant to the Elliott-Larsen Civil Rights Act,

15. Because the Elliott-Larsen Civil Rights Act is limited to only claim of
discrimination involving “religion, race, color, national origin, sex, height, weight, familial
status, or marital status,” Plaintiff's Complaint for claims of discrimination outside these
particular acts enumerated by the statute are “immaterial” and “impertinent” to her claim.

16. As such, FRCP Rule 12(f) allow this Honorable Court to strike the entirety of
Plaintiff's Complaint as it fails to have no bearing on the claim and does not pertain to any issues
involved with a cause of action brought pursuant to the Elott-Larsen Civil Rights Act.

WHEREFORE, Defendant, IDS PROPERTY CASUALTY INSURANCE COMPANY,
respectfully requests this Honorable Court grant its Motion, strike Plaintiff's instant cause of

action and dismiss the case with prejudice, together with costs and fees so wrongfully incurred in

the defense of this matter.

AE-3670-AS

 
 

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Case 1:13-cv-01098-JTN-ESC Doc #8 Filed 11/08/13 PageSof22 Page iD#16

MOFFETT VITU LASCOE PACKUS & SIMS, P.C.

bf Aarow D. Simy
By: Aaron D, Sims (P38011)
Attorney for Defendant

255 E. Brown Street, Suite 340
Birmingham, MI 48009

(248) 646-5100

asims@moffettvitu.com
Dated: November 8, 2013

BRIEF IN SUPPORT OF DEFENDANT IDS PROPERTY AND CASUALTY
INSURANCE COMPANY’S MOTION TO STRIKE PLAINTIFFE’S COMPLAINT

In support of the instant Motion, Defendant relies upon the following provisions of FRCP
Rule 12(f), applicable case law, the facts of the case and this Honorable Court’s disrection.

WHEREFORE, Defendant, IDS PROPERTY CASUALTY INSURANCE COMPANY,
respectfully requests this Honorable Court grant its Motion, strike Plaintiff's instant cause of
action and dismiss the case with prejudice, together with costs and fees so wrongfully incurred in
the defense of this matter.

MOFFETT VITU LASCOE PACKUS & SIMS, P.C.

s/ AGvowD, Simy
By: Aaron D, Sims (P58011)
Attorney for Defendant

255 E. Brown Street, Suite 340
Birmingham, MI 48009

(248) 646-5100

asims(@moffettvitu.com

PROOF OF SERVICE

Dated: November 8, 2013

The undersigned certifies that a copy of the foregoing document was served upon counsel of record, by mailing
same to them at their respective business addresses as disclosed by the pleadings of record herein, with postage fully
prepaid thereon on Novernber 8, 2013.

I declare that the statement above is true to the best of my information, knowledge and belief.

{si Rhonda R. Brouckaert
Rhonda R. Brouckaert

AE-J3670-A8

 
   

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EXHIBIT
 

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MOFFETT VITU LASCOE PACKUS & SIMS

A PROFESSIONAL CORPORATION

ATTORNEYS AT LAW
AARON D. SIMS
Brown Street Centre — Suite 340 Telephone: (248) 646-5100
255 East Brown Street
Birmingham, Michigan 48009 Fax (248) 646-5332
Writers Email Address:
asims@moffettvitu.com
November 8, 2013
Melindia Jackson
P.O. Box 305

Allegan, MI 49010

Re: Melindia Jackson v IDS Property & Casualty
Case No: 1:13-cv-1098
Claim No.: 1122887C201
Our File No: AE-3670-AS

Dear Ms. Jackson:

Enclosed please find Defendant IDS Property and Casualty Insurance Company’s Motion
to Strike Plaintiff's Complaint that was e-filed earlier today.

ADS/tmt
Enclosures

 

 
 

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EXHIBIT
  
    

       
  

    

  
 

 
 
  

 
 

Case 1:

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Case 1:13-cv-

Case 1:13-cv-01098-JTN-ESC Doc #9 Filed 11/12/13 Page lofi Page iD#34
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

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MELINDIA JACKSON,

Plaintiff, Case No. 1:13-cv-01098-JTN-ESC
Vv. Hon. Janet T. Neff

IDS PROPERTY AND CASUALTY
INSURANCE CO.,

Defendant.

NOTICE OF HEARING

TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
set forth below:

Motion(s): Motion to Strike — #8

Date/Time: May 9,2014 11:00 AM

Magistrate Judge: Ellen S. Carmody

Place/Location: 650 Federal Building, Grand Rapids, MI

ELLEN S. CARMODY
U.S. Magistrate Judge

Dated: November 12, 2013 By: _/s/ Cynthia Black Hosner
Judicial Assistant

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Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.55 Page 21 of 23

 

EXHIBIT
 

Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.56 Page 22 of 23

 

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
MELINDIA JACKSON,
Plaintiff,
Case No: 1:13-cv-1098
VS. Hon. Janet T. Neff

IDS PROPERTY AND CASUALTY

 

INSURANCE COMPANY,

Defendant.

/

MELINDIA JACKSON AARON D. SIMS (P58011)
Pro Se Plaintiff Moffett Vitu Lascoe Packus & Sims, P.C.
P.O. Box 305 Attorney for Defendant
Allegan, MI 49010 255 EF. Brown Street, Suite 340
269-673-4422 Birmingham, MI 48009

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ttomasovich@mdaal.com

 

AFFIDAVIT OF TAMI M. TOMASGVICH

STATE OF MICHIGAN )
SS:
COUNTY OF WAYNE)

I, TAMI M. TOMASOVICH, being of lawful age and being first duly sworn, deposes
and states the following:

1. I am the legal secretary for Aaron Sims, and I am the person who primarily
handles the filing of his pleadings and correspondences with opposing parties.
2. Additionally, I am responsible for discussing issues with opposing parties to keep

him apprised of any developments while he is out of the office.
 

 

Case 1:13-cv-01098-JTN-ESC ECF No. 10 filed 04/30/14 PagelD.57 Page 23 of 23

3. On or about November 8, 2013, I prepared the correspondence together with the
enclosure of Defendant’s Motion to Strike Plaintiff's Complaint and had it sent to Plaintiff's P.O.
Box in Allegan, Michigan.

4, ‘On or about January 21, 2014, I spoke with Plaintiff/Ms. Jackson regarding an
offer to resolve the instant matter.

5. To date, I have not received any correspondences indicative of a response to

Defendant’s Motion to Strike Plaintiff's Complaint.

6. ‘I have not had any further communication with Plaintiff since her phone call at
the end of January.
Further Affiant sayeth not.
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TAMI ML TOMASOVICH

Subseribed and swom to before me,

» 2014,

 

 

“Notary Public
My Commission Expires:

  
 

oem, ANDREA K GISTINGER
4, Notary Public, State of Michigan

f County of Oakiand

By My Corimission Expires Dee. 14, 2018

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